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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

   IAN TAYLOR, individually
   and on behalf of all others
   similarly situated

         Plaintiff,
   v.                                 CASE NO.: 8:20-cv-509-T-36CPT

   CITIZENS TELECOM SERVICES
   COMPANY, LLC,

       Defendant.
   ________________________/
               ORDER GRANTING FINAL APPROVAL OF
                   CLASS ACTION SETTLEMENT

         On September 9, 2021, this Court granted preliminary approval to the

   proposed Class Action Settlement (“Settlement”) set forth in the Plaintiff’s

   Unopposed Motion for Preliminary Approval of their Class Settlement

   Agreement (the “Settlement Agreement”). (Doc. 57). The Court provisionally

   certified the case for Settlement purposes, approved the procedure for giving

   Class Notice to the Settlement Class Members, and set a final approval hearing

   to take place January 14, 2022.

         Following the final fairness hearing, held on January 14, 2022, the Court

   finds that the Notice to the Settlement Class, substantially in the form approved

   by the Court in its Preliminary Approval Order, was given in the manner
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   ordered by the Court, constitutes the best practicable notice, and was fair,

   reasonable, and adequate. As such,

   IT IS ORDERED:

         1.    Plaintiff’s Unopposed Motion for Final Approval of the Parties’

               Class Action Settlement (Doc. 60) is GRANTED.

         2.    Plaintiff’s Unopposed Motion for Attorneys’ Fees and Costs (Doc.

               59) is GRANTED.

         3.    All defined terms contained herein shall have the same meaning as

               set forth in the Settlement Agreement executed by the Parties and

               filed with the Court.

         4.    The Court has subject matter jurisdiction to approve the

               Settlement Agreement, including all Exhibits thereto, and to

               enter this Final Order and Judgment.

         5.    The Settlement Agreement was negotiated at arm’s length by

               experienced counsel who were fully informed of the facts and

               circumstances of this litigation (the “Action”) and of the strengths

               and weaknesses of their respective positions.      The Settlement

               Agreement was reached after the Parties engaged in an all-day

               mediation session with the assistance of an experienced neutral

               class action mediator, and only after counsel for both sides
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              exchanged information on the claims and class size. Further,

              Plaintiff retained counsel well-versed in the law pertaining to

              COBRA notice cases on a class basis. Counsel for the Parties were

              therefore well positioned to evaluate the benefits of the Settlement

              Agreement, taking into account the expense, risk, and uncertainty

              of protracted litigation.

        6.    The Court finds that the prerequisites for a class action under

              Fed. R. Civ. P. 23(a) and Fed. R. Civ. P. 23(b), as well as Fed. R.

              Civ. P. 23(e), have been satisfied for settlement purposes, only,

              for each Settlement Class Member

        7.    Pursuant to Fed. R. Civ. P. 23, this Court hereby finally certifies

              the Settlement Class, as identified in the Settlement Agreement.

        8.    The Court finds the requirements of the Class Action Fairness

              Act have been satisfied.

        9.    The Court appoints attorneys Luis A. Cabassa and Brandon J. Hill

              of the law firm Wenzel Fenton Cabassa, P.A., as Class Counsel.

        10.   Further, Named Plaintiff Ian Taylor shall continue serving as the

              Class Representative.

        11.   The Court makes the following findings on Notice to the Settlement

              class:
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              (a)   The Court finds that the distribution of the Class Notice, as

                    provided for in the Settlement Agreement, (i) constituted

                    the best practicable notice under the circumstances to

                    Settlement Class Members, (ii) constituted notice that was

                    reasonably calculated, under the circumstances, to apprise

                    the Settlement Class Members of, among other things, the

                    pendency of the Action, the nature and terms of the

                    proposed Settlement, their right to object to the proposed

                    Settlement, and their right to appear at the Final Approval

                    Hearing, (iii) was reasonable and constituted           due,

                    adequate, and sufficient notice to all persons entitled to be

                    provided with notice, and (iv) complied fully with the

                    requirements of Fed. R. Civ. P. 23, the United States

                    Constitution, the Rules of this Court, and any other

                    applicable law.

              (b)   The Court finds that the Class Notice and methodology set

                    forth in the Settlement Agreement, the Preliminary

                    Approval Order, and this Final Order and Judgment (i)

                    constitute the most effective and practicable notice of the

                    Final Order and Judgment,         the relief available to
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                    Settlement Class Members pursuant to the Final Order and

                    Judgment, and applicable time periods; (ii) constitute due,

                    adequate, and sufficient notice for all other purposes to all

                    Settlement Class Members; and (iii) comply fully with the

                    requirements of Fed. R. Civ. P. 23, the United States

                    Constitution, the Rules of this Court, and any other

                    applicable laws.

        12.   The Settlement Agreement is finally approved in all respects as

              fair, reasonable and adequate pursuant to Fed. R. Civ. P. 23(e).

              The terms and provisions of the Settlement Agreement, including

              all Exhibits thereto, have been entered into in good faith and are

              hereby fully and finally approved as fair, reasonable, and

              adequate as to, and in the best interests of, each of the Parties and

              the Settlement Class Members.

        13.   The Court approves the distribution of the Settlement Fund, as

              described in the Settlement Agreement, as fair, reasonable, and

              adequate, and the Settlement Administrator is authorized to

              distribute the Settlement Fund in accordance with the terms of

              the Settlement Agreement.

        14.   The Parties are hereby ordered to implement and consummate
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                 the Settlement Agreement according to its terms and provisions.

          15.    Pursuant to Fed. R. Civ. P. 23(h), and consistent with the Eleventh

                 Circuit’s decision in Camden I Condo. Ass’n, Inc. v. Dunkle, 946

                 F.2d 768, 774 (11th Cir. 1991) (“Henceforth in this circuit,

                 attorneys’ fees awarded from a common fund shall be based upon

                 a reasonable percentage of the fund established for the benefit of

                 the class”), the Court hereby awards Class Counsel Attorneys' Fees

                 and Expenses in the amount of one-third of the gross Settlement

                 Fund ($236,596.50) payable pursuant to the terms of the

                 Settlement Agreement, plus $5,230.00 in reasonable litigation

                 costs, for a total fee and cost award to Plaintiff’s counsel consisting

                 of $241,826.50. 1


   1 In addition, pursuant to Fed. R. 23(e)(3), the Parties disclosed that a payment of
   $5,000 will be made to the named Plaintiff Ian Taylor for a general and complete
   release of any claims that he may have against Defendant Citizens Telecom Services,
   LLC (“Citizens Telecom.”). This includes, but is not limited to any claims that Mr.
   Taylor may have related to the termination of his employment from Citizens Telecom.
   During the preliminary approval hearing, counsel for Citizens Telecom indicated that
   receiving a general and complete release from Mr. Taylor was important as he has
   already shown, by this case, that he is prepared to avail himself of the court system
   and he previously raised some concerns related to the circumstances of his separation
   from Citizens Telecom. Citizens Telecom’s counsel noted that his client desired “to be
   done” litigating with Mr. Taylor. The parties indicated that this general release was
   negotiated after all of the terms of the class settlement were agreed on. Further, to the
   extent so required pursuant to Fed. R. Civ. 23(e)(3), the terms of this general release
   were disclosed to the Court. The Court notes that this is not a service award for Mr.
   Taylor’s work in this case, which as this Court observed in Smith v. Kforce, Inc., 2020
   WL 7250603, at *2 (M.D. Fla. Dec. 9, 2020), is not presently permitted in the Eleventh
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          16.    Except for any class members who timely submitted requests for

                 exclusion (none have thus far), the terms of the Settlement

                 Agreement and of this Final Order and Judgment, including all

                 Exhibits thereto, shall be forever binding on, and shall have res

                 judicata and preclusive effect in, all pending and future lawsuits

                 maintained by the Plaintiff and all other Settlement Class

                 Members, as well as their heirs, executors and administrators,

                 successors, and assigns.

          17.    Without further order of the Court, the Settling Parties may agree

                 to reasonably necessary extensions of time to carry out any of the

                 provisions of the Settlement Agreement.

          18.    This Action, including all individual claims and class claims

                 presented herein, is hereby dismissed on the merits and with

                 prejudice against Plaintiff and all other Settlement Class

                 Members, without fees or costs to any party, except as otherwise

                 provided herein.

          19.    The Court maintains jurisdiction over this case for one (1) year

                 to enforce the terms and conditions of the Settlement


   Circuit. Instead, it is a separately negotiated payment that Citizens Telecom desires in
   exchange for a much wanted general release from Mr. Taylor.
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              Agreement, if needed.

        20.   The Clerk is directed to close this case.

      DONE and ORDERED this 8th day of February, 2022.




   Copies to:
   Counsel of Record
